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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

JOHN VIDUREK, et al.,

                                        Plaintiffs,
                                                                 1:18-CV-392
                        -against-
                                                                (MAD)(CFH)
GOVERNOR ANDREW M. CUOMO, et al.,

                                      Defendants.




                     DEFENDANTS’ MEMORANDUM OF LAW
                     IN SUPPORT OF A MOTION TO DISMISS
                          PURSUANT TO FRCP 12(b)(6)



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May 16, 2018
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                                      Preliminary Statement

       Defendants in this action – i.e., Governor Andrew M. Cuomo, Senator John J. Flanagan,

the Majority Leader of the N.Y. State Senate, and Assemblyman Carl E. Heastie, the Speaker of

the N.Y. State Assembly – hereby move this Honorable Court to dismiss this action pursuant to

FRCP 12(b)(6) for failure to state a viable legal claim.

       In this action, the pro se Plaintiffs, who refer to themselves as “the Sovereign People”

and “the Sovereign People of New York”, see, e.g., Complt., p. 12, advance a “sovereign citizen”

belief system, one in which they, as “the Sovereign People,” are supposedly “independent of all

legislated statutes, codes, rules, and regulations.” Id., p. 15. Using this legal theory – a legal

theory that has been repeatedly referred to by multiple federal courts as being entirely frivolous –

the Plaintiffs challenge the New York State Secure Ammunition and Firearms Enforcement Act

(“SAFE Act”), and virtually all other New York Penal Law sections that ban or restrict their

access to weapons and firearms. But this action must be dismissed by this Court because

Plaintiffs’ “sovereign citizen” legal theory has absolutely no basis in law.

       Additionally, since Plaintiffs litigated and lost a similar case in New York State Supreme

Court in 2013, Plaintiffs’ present action must also be dismissed on collateral estoppel grounds.

                                      Statement of the Facts

       A.      New York’s Longstanding Regulation of Firearms

       State and local laws have long regulated firearms. “The earliest and most numerous state

and local laws relate to the carrying or use of firearms. In the 1600s, Massachusetts prohibited

the carrying of defensive firearms in public places”. George Newton and Franklin E. Zimring,

Firearms and Violence in American Life, staff report submitted to the National Commission on

Causes and Prevention of Violence, Washington D.C., Government Printing Office, 8 (1969).

Gun regulations for public safety purposes have been used by state and local governments dating
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to even before the adoption of the Second Amendment and have long included significant

licensing and registration requirements and limitations on the types of weapons that can be

possessed. See Saul Cornell & Nathan DeNino, A Well Regulated Right: The Early American

Origins of Gun Control, 73 Fordham L. Rev. 487, 502 (2004); Saul Cornell, A Well-Regulated

Militia: The Founding Fathers and the Origins of Gun Control in America, 140 (2006). State

regulations prohibiting the use of firearms on certain occasions and in certain locations also

existed in 1785. See 1785 N.Y. Laws 152; see also Saul Cornell, The Early American Origins of

the Modern Gun Control Debate: The Right to Bear Arms, Firearm Regulation, and The Lessons

of History, 17 STNLPR 571, 585 (2006).

       New York has long regulated the possession and carrying of firearms and other

dangerous weapons. For example, the State’s licensing requirement was first codified in 1911 as

the Sullivan Law. Enacted to combat handgun violence, the Sullivan Law has regulated the

possession and carrying of handguns in New York State for a century. Today, the State’s

firearms regulations are encompassed primarily in Articles 265 and 400 of the Penal Law.

       B.      The SAFE Act

       Following the horrific mass shooting deaths of 20 schoolchildren and six adults in

Newtown, Connecticut on December 14, 2012, and the murder of two first responders in

Webster, New York, on December 24, 2012, Governor Cuomo and the Legislature acted to put

in place a comprehensive legislative package, the SAFE Act, to amend New York’s existing

firearm regulations. The SAFE Act made significant reforms in order to prevent gun violence,

from increasing the safety of New York’s schools by regulating the possession of firearms on

school property and forming a statewide team of specialists to review and assist schools in

developing school safety plans, to providing for greater safety for families in New York by

allowing judges to temporarily remove firearms from those subject to a protective order where
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the court finds a substantial risk of violence against the person protected by the order.

       The SAFE Act, among other things, toughens regulations to limit access to firearms by

those with a disqualifying mental health condition; requires federal background checks for most

private sales of guns; advances a statewide database and greater uniformity in licensure; and

provides a variety of other protections and enhancements to gun use licensure. Several sections

of the SAFE Act provide for new and enhanced penalties for illegal gun use, including, for

example, §§ 33-36, which increases penalties for the murder of certain first responders and the

adoption of a new Penal Law § 460.22, which addresses the threat to public safety of certain

organized violent gangs and their illegal purchases of weapons in their enterprise.

       C.      Plaintiffs’ Pleading

       In their Complaint, Plaintiffs identify themselves as “the Sovereign People” and “the

Sovereign People of New York,” see, e.g., Complt., p. 12, and they list various quotations, cases,

precepts, and arguments presenting a common theme that is summarized in one statement in their

Complaint: “We the Sovereign People are independent of all legislated statutes, codes, rules, and

regulations.” Id., p. 15. So despite the fact that buried within this prolix pleading are references

to various statutes, such as 42 U.S.C. §§ 1983, 1985, and 1986, and 18 U.S.C.§§ 241 and 242, all

of Plaintiffs’ claims essentially rely upon their simple assertion that the laws which regulate guns

in New York State are unconstitutional because they cannot apply to them as “sovereign”

citizens. In fact, Plaintiffs go so far as to assert the “the disarming” of them “is an ACT OF

WAR” by the Defendants, id., p. 17, and they express a concern that “the enemies of the

Sovereign People” labor at the behest of “the National Lawyers Guild, the nation’s oldest and

largest progressive BAR association, a communist organization hell-bent on the destruction of

our Constitutional Republic.” Id., p. 19. Despite the fact that the Plaintiffs also assert that they

“will not accept a dismissal” of this action since “magistrates have no such leave in this court of
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record to dismiss by summary proceeding,” id., p. 9, the Defendants do hereby move to dismiss

this action under FRCP 12(b)(6) because Plaintiffs’ Complaint fails to state a viable legal claim.

                                        Standard of Review

        “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim

has facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Id. (citing

Twombly, 550 U.S. at 556). It is not enough for a plaintiff to allege facts that are consistent with

liability; the complaint must “nudge” claims “across the line from conceivable to plausible.”

Twombly, 550 U.S. at 570. “To survive dismissal, the plaintiff must provide the grounds upon

which his claim rests through factual allegations sufficient ‘to raise a right to relief above the

speculative level.’” ATSI Commc’ns, Inc. v. Shaar Fund, Ltd., 493 F.3d 87, 98 (2d Cir. 2007)

(quoting Twombly, 550 U.S. at 555).

        Determining whether a complaint states a plausible claim is a “context-specific task that

requires the reviewing court to draw on its judicial experience and common sense.” Iqbal, 556

U.S. at 679. The court must accept all facts alleged in the complaint as true and draw all

reasonable inferences in the plaintiff's favor. Burch v. Pioneer Credit Recovery, Inc., 551 F.3d

122, 124 (2d Cir. 2008) (per curiam). However,

        ‘[t]hreadbare recitals of the elements of a cause of action, supported by mere
        conclusory statements, do not suffice.’ A complaint must therefore contain more
        than ‘naked assertion[s] devoid of further factual enhancement.’ Pleadings that
        contain ‘no more than conclusions . . . are not entitled to the assumption of truth’
        otherwise applicable to complaints in the context of motions to dismiss.

DeJesus v. HF Mgmt. Servs., LLC, 726 F.3d 85, 87-88 (2d Cir. 2013) (alterations in original)

(quoting Iqbal, 556 U.S. at 678-79). Thus, a complaint that offers “labels and conclusions” or
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“naked assertion[s]” without “further factual enhancement” will not survive a motion to dismiss.

Iqbal, 556 U.S. at 678 (alteration in original) (citing Twombly, 550 U.S. at 555, 557).

        Because Plaintiffs are proceeding pro se, the Court must liberally construe their

allegations and “interpret[ ] [them] to raise the strongest arguments that they suggest.”

Triestman v. Fed. Bureau of Prisons, 470 F.3d 471, 474 (2d Cir. 2006) (per curiam) (internal

quotation marks and citation omitted). Nevertheless, “dismissal of a pro se complaint is [ ]

appropriate where a plaintiff has clearly failed to meet the minimum pleading requirements.”

Rahman v. Schriro, 22 F. Supp. 3d 305, 310 (S.D.N.Y. 2014) (citing Rodriguez v. Weprin, 116

F.3d 62, 65 (2d Cir. 1997)).

                                               Argument

                                                 Point I

        Plaintiffs’ broad-based “sovereign citizen” Second Amendment challenge to
        the New York State SAFE Act and numerous other firearms-related statutes
        is frivolous and must be dismissed by the Court.

        In their 23-page Complaint, Plaintiff John Vidurek and his 33 other “co-plaintiffs”1 seek

to assert a Second Amendment challenge the New York State SAFE Act and numerous other

New York Penal laws that are related to firearms and weapons, including, but not limited to,

Penal Law § 265.02 (criminal possession of a weapon in the third degree), which bans

“incendiary bomb[s]” and “machine-gun[s]”, among other types of weapons, and Penal Law

§ 400.00. which requires that applicants prove “proper cause” to obtain licenses to carry

handguns for self-defense. See Complt., p. 23.




1
  In this action, Plaintiff John Vidurek has filed a Complaint in which he purports to be a “co-plaintiff”
with 33 other individuals, but these 33 other individuals did not sign the Complaint, as is required by
FRCP 11(a). See Rodriguez v. N.Y.C. Police Dep’t, 2011 U.S. Dist. LEXIS 122871, at *18 (S.D.N.Y.
Oct. 24, 2011) (“each Plaintiff must sign the Complaint and state his or her address, email address, and
telephone number”) (attached).
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         Notably, though, Plaintiffs do not challenge New York’s firearm-related statutes on the

basis that they allegedly violate the U.S. Supreme Court’s holdings in District of Columbia v.

Heller, 554 U.S. 570 (2008) or McDonald v. City of Chicago, 130 S. Ct. 3020, 3026, 3042

(2010), or even that they allegedly violate the Second Circuit’s holdings in cases such as

Kachalsky v. Cty. of Westchester, 701 F.3d 81, 83 (2d Cir. 2012) (upholding a Second

Amendment challenge to Penal Law § 400.00(2)(f)). Indeed, any type of legal challenge along

those lines would be completely meritless. See, e.g., N.Y. State Rifle & Pistol Ass’n v. City of

N.Y., 883 F.3d 45 (2d Cir. 2018); Mishtaku v. Espada, 669 F. App’x 35 (2d Cir. 2016); New York

State Rifle & Pistol Ass’n, Inc. v. Cuomo, 804 F.3d 242 (2d Cir. 2015). Rather, Plaintiffs’ claim

here is strictly based upon a “sovereign citizen” Second Amendment type of legal theory.

         Although, in their Complaint, the Plaintiffs refer to themselves as “the Sovereign People”

and “the Sovereign People of New York”, see, e.g., Complt., p. 12, and not explicitly as

“sovereign citizens”, their claims are clearly rooted in the now all-too-common “sovereign

citizen” genre of legal claims,2 since, as is noted above, the Plaintiffs advance a belief system

such as this: “We the Sovereign People are independent of all legislated statutes, codes, rules,

and regulations.” See, id., p. 15. In sum, Plaintiffs believe that, as “the Sovereign People,” New

York State gun-related laws simply do not apply to them, and they seek a ruling from the Court

upholding that belief system, as well as awarding each of them $50,000 for alleged

“psychological stress and fear of violence.” Id., p. 23.

         There is, however, no basis to the Plaintiffs’ “sovereign citizen” Second Amendment

claim:



2
  See Kayin El v. United States, No. 17-cv-1398-SMY, 2018 U.S. Dist. LEXIS 16670, at *9 (S.D. Ill. Jan.
31, 2018) (“Plaintiff’s argument is part of a growing trend, commonly referred to as the ‘sovereign
citizen’ movement. It is premised on faulty reasoning that has consistently been deemed frivolous.”)
(attached).
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         The Second Circuit has described “sovereign citizens” as “a loosely affiliated
         group who believe that the state and federal governments lack constitutional
         legitimacy and therefore have no authority to regulate their behavior.” United
         States v. Ulloa, 511 F. App’x 105, 107 n.1 (2d Cir. 2013). The “sovereign
         citizen” belief system has been described by other courts as “completely without
         merit,” “patently frivolous,” United States v. Jagim, 978 F.2d 1032, 1036 (8th Cir.
         1992), and having “no conceivable validity in American law,” United States v.
         Schneider, 910 F.2d 1569, 1570 (7th Cir. 1990).

Robinson v. Fischer, No. 9:13-CV-1545 (GTS/TWD), 2014 U.S. Dist. LEXIS 44644, at *14

(N.D.N.Y. Mar. 31, 2014) (attached). See also Charlotte v. Hansen, 433 Fed. Appx. 660, 661

(10th Cir. 2011) (rejecting the sovereign citizen theory as having no conceivable validity in

American law); Linge v. State of Georgia, Inc., 569 F. App’x 895, 896 (11th Cir. 2014) (“[T]o

the extent that [the plaintiff] more broadly argues that he is a sovereign citizen and not subject to

. . . Georgia laws, both we and the district court lack jurisdiction because it is ‘wholly

insubstantial and frivolous.’”) (citations omitted).

         Based upon the foregoing case law, the Defendants respectfully assert that their motion to

dismiss should be granted by the Court. As this very Court has noted in the past, not only have

“[t]heories presented by … sovereign citizen adherents” been “rejected by the courts”, but they

have also been clearly “recognized as frivolous and a waste of court resources.” Muhammad v.

Smith, No. 3:13-cv-760 (MAD/DEP), 2014 U.S. Dist. LEXIS 99990, at *6-7 (N.D.N.Y. July 23,

2014) (attached). Since Plaintiffs’ entire challenge to the gun-related statutes of New York State

is premised upon this same frivolous legal argument, their Complaint must be dismissed by the

Court.




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                                              Point II

       Plaintiffs’ claims must also be dismissed based upon the doctrine of collateral
       estoppel since these same Plaintiffs litigated and lost identical legal claims in
       State court in 2013 against the Governor and each of the members of the
       New York State Senate and Assembly.

       The doctrine of collateral estoppel bars re-litigation of issues previously litigated and

decided, and it applies to civil rights lawsuits brought pursuant to 42 U.S.C. § 1983. Allen v.

McCurry, 449 U.S. 90 (1980); Gill v. Stella, 845 F. Supp. 94, 100 (E.D.N.Y. 1994). Application

of collateral estoppel in such federal cases is governed by the Full Faith and Credit Act, 28

U.S.C. §1738, which requires federal courts to give the same preclusive effect to state court

judgments as they would receive in the courts of that state. Migra v. Warren City Sch. Dist. Bd.

of Educ., 465 U.S. 75, 81 (1984); Burkybile v. Bd. of Educ. of Hastings-on-Hudson, 411 F.3d

306, 310 (2d Cir.), cert. denied, 546 U.S. 1062 (2005). Thus, this Court applies New York State

law to determine the preclusive effect of the prior proceeding.

       Under New York law, collateral estoppel will preclude re-litigation of an issue if the

issue sought to be precluded is identical to the issue in the first proceeding, and has been decided

in the prior proceeding in the context of a full and fair opportunity to litigate. Colon v. Coughlin,

58 F.3d 865, 869 (2d Cir. 1995); Caridi v. Forte, 967 F. Supp. 97, 100 (S.D.N.Y. 1997); see

Capital Telephone Co. v. Pattersonville Telephone Co., 56 N.Y.2d 11, 17-18 (1982); Schwartz v.

Public Administrator, 24 N.Y.2d 65, 71 (1969). In addition, the issue sought to be precluded

from re-litigation must have been necessarily determined in the prior proceeding. Green v.

Montgomery, 219 F.3d 52, 55 (2d Cir. 2000); Carlen v. Department of Health Services, 104 F.3d

351, 351 (2d Cir. 1996); Colon, 58 F.3d at 869; Rameau v. New York State Dep’t. of Health, 741

F. Supp. 68, 70-71 (S.D.N.Y. 1990). An issue that is “‘necessarily decided’ must have been both

‘actually decided’ . . . and necessary to support a valid and final judgment on the merits.”

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Beechwood Restorative Care Center v. Leeds, 436 F.3d 147, 153 (2d Cir. 2006). Accordingly,

this Court’s analysis “is governed by New York State law, which has adopted a transactional

approach to res judicata, barring a later claim arising out of the same factual grouping as an

earlier litigated claim even if the later claim is based on different legal theories or seeks

dissimilar or additional relief.” Burgos v. Hopkins, 14 F.3d 787, 790 (2d Cir. 1994) (citing Smith

v. Russell Sage Coll., 54 N.Y.2d 185, 192-93, (1981)).

        Attached as Exhibit A to the Declaration of Michael G. McCartin, the Court can find an

“Action at Law” against Governor Cuomo and each and every member of the New York State

Senate and Assembly that Plaintiff Vidurek and his other eight-hundred (800) “co-plaintiffs”

brought in New York Supreme Court, Albany County, in 2013.3 In his decision dismissing that

“Action at Law,” the Hon. Richard M. Platkin, A.S.C.J., summarized the Complaint as follows:

        Plaintiffs are suing the Governor, the Senate and the Assembly “for dereliction of
        duty, abuse of power, conspiracy to disarm the people [and] for declaratory
        judgment, with enforcement, regarding a long train of abuse and usurpation of the
        peoples’ unalienable right to bear arms” (complaint, preamble). Plaintiffs contend
        that defendants have violated their federally protected rights through the
        enactment of legislation regulating the sale, possession and use of firearms and
        ammunition (id. ¶ 19). While the complaint focuses particularly on the enactment
        of the NY SAFE Act, plaintiffs also challenge Penal Law articles 265 and 400 and
        all other similar state laws. According to plaintiffs, these measures “prevent
        people from defending themselves” (id. ¶¶ 24-26) and are “repugnant to the
        Second Amendment, and therefore are null and void” (id. ¶ 27).

Mongielo v. Cuomo, 40 Misc. 3d 362, 363-64 (Sup. Ct., Alb. Co. 2013). Thus, as this Court can

see, Plaintiff Vidurek and his “co-plaintiffs” brought the same type of claims in State court that

they now bring here, but those claims were properly dismissed by that State court on the merits:



3
  A 12(b)(6) motion “is appropriate when a defendant raises claim preclusion . . . and it is clear from the
face of the complaint, and matters of which the court may take judicial notice, that the plaintiff’s claims
are barred as a matter of law.” Conopco, Inc. v. Roll Int’l, 231 F.3d 82, 87 (2d Cir. 2000). And this Court
can clearly take judicial notice of the Plaintiffs’ state court complaint from 2013. See Staehr v. Hartford
Fin. Servs. Group, 547 F.3d 406, 424-25 (2d Cir. 2008) (holding it was proper for district court to take
judicial notice of, inter alia, state court complaints).
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        [I]n maintaining that the state’s entire body of law governing the sale, possession
        and use of firearms and ammunition is “immediately null and void,” plaintiffs’
        claim is refuted directly by precedent of the United States Supreme Court, the
        Appellate Divisions of the New York State Supreme Court and the United States
        Court of Appeals for the Second Circuit. … [T]he precedent cited above
        conclusively forecloses plaintiffs’ claim that the state’s firearms laws suffer from
        “wholesale constitutional impairment” [] As plaintiffs cannot demonstrate that
        the laws they challenge are unconstitutional in all respects and under all
        applications, the complaint must be dismissed for failure to state a cause of action
        (Matter of Moran Towing Corp. v. Urbach, 99 N.Y.2d 443, 448, 787 N.E.2d 624,
        757 N.Y.S.2d 513 (2003)).

Mongielo, 40 Misc. 3d 365-66.

        Thus, Plaintiffs’ Complaint in this action must also be dismissed based upon the doctrine

of collateral estoppel.

                                             Conclusion

        Consequently, the Court should dismiss this action in its entirety pursuant to FRCP Rule

12(b)(6) since the Plaintiffs fail to state a valid cause of action against the Defendants.

Dated: Albany, New York
       May 16, 2018
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  PRO SE
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